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 1                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 2
                                SOUTHERN DIVISION
 3
     JACKLINE MUTHOKA,                                CASE NO.: 8:23-cv-01333-FWS-JDE
 4                                                    Assigned to the Hon. Fred W. Slaughter
                  Plaintiff,
 5                                                    ORDER ON THIRD STIPULATION TO
     v.                                               MODIFY SCHEDULING ORDER
 6
     THE REGENTS OF THE UNIVERSITY                    Complaint Filed: July 23, 2023
 7   OF CALIFORNIA,                                   SAC Filed: January 22, 2024
 8                Defendant.
                                                      Trial Date: September 23, 2025
 9

10

11                                              ORDER
12          Pursuant to the stipulation of the parties, and for good cause appearing, IT IS HEREBY

13   ORDERED that:

14                                              Current Deadline               New Deadline
15   Non-Expert Discovery Cut-Off            December 11, 2024           December 20, 2024
16                                                                       *excepting the NBME
17                                                                       deposition which shall
18                                                                       occur by 1/31/2025
19   Expert Disclosure (Initial)             January 27, 2025            February 28, 2025
20   Expert Disclosure (Rebuttal)            March 3, 2025               March 28, 2025
21   Expert Discovery Cut-Off                March 28, 2025              April 21, 2025
22        • Last day to attend private       December 20, 2024           February 20, 2025
23          mediation

24
            IT IS SO ORDERED.
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26
     DATED: December 12, 2024
27                                                      Hon. Fred W. Slaughter
                                                        United States District Judge
28

                                               1
                                  ORDER ON THIRD STIPULATION
                                 TO MODIFY SCHEDULING ORDER
